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                                                                                   Form 1                                                                             Page: 1

                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         20-00393-3F7 JAF                                                      Trustee: (290790)           GREGORY L. ATWATER
Case Name:           NORTH AMERICAN RAIL SOLUTIONS, LLC                                    Filed (f) or Converted (c): 02/05/20 (f)
                                                                                           §341(a) Meeting Date:       03/10/20
Period Ending:       06/30/21                                                              Claims Bar Date:            05/14/20

                                1                                         2                       3                           4                  5                    6

                       Asset Description                               Petition/          Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                        Values          Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                                 Remaining Assets

 1       Operating Account at Bank of America Full Analys                14,208.57                    10,220.00                                 10,220.00                    FA
          Imported from original petition Doc# 3

 2       Wholly-owned subsidiary - Management Services of                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3

 3       Wholly-owned subsidiary - Mid-West Rail Solution                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3

 4       Wholly-owned subsidiary - Annapolis Junction Rai                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3
 5       Wholly-owned subsidiary - Flint Rail Services, L                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3

 6       Wholly-owned subsidiary - Lordstown, LLC; EIN -2                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3

 7       Wholly-owned subsidiary - South Florida Rail Sol                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3

 8       Wholly-owned subsidiary - Colorado Rail Solution                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3

 9       Wholly-owned subsidiary - Michigan Rail Services                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3

10       Deposits [balance as of 02/04/2020]                             10,783.00                    10,783.00                                      0.00             10,783.00
          Imported from original petition Doc# 3

11       Chubb Group of Insurance Companies Commercial Ex                Unknown                      Unknown                                        0.00                    FA
          Imported from original petition Doc# 3



                                                                                                                                            Printed: 07/29/2021 04:33 PM   V.20.34
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                                                                              Form 1                                                                               Page: 2

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         20-00393-3F7 JAF                                                   Trustee: (290790)           GREGORY L. ATWATER
Case Name:           NORTH AMERICAN RAIL SOLUTIONS, LLC                                 Filed (f) or Converted (c): 02/05/20 (f)
                                                                                        §341(a) Meeting Date:       03/10/20
Period Ending:       06/30/21                                                           Claims Bar Date:            05/14/20

                                1                                    2                         3                           4                  5                    6

                       Asset Description                          Petition/            Estimated Net Value              Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)            Unscheduled       (Value Determined By Trustee,        Abandoned         Received by       Administered (FA)/
                                                                   Values            Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

12       The Hartford Management Liability Policy No. 30.           Unknown                        Unknown                                          0.00                  FA
          Imported from original petition Doc# 3

13       Notes Receivable: Intercompany loan due from Mid                  0.00                         0.00                                        0.00                  FA
          Imported from original petition Doc# 3

14       Notes Receivable: Intercompany loan due from Col                  0.00                         0.00                                        0.00                  FA
          Imported from original petition Doc# 3

15       Office Equipment [balance as of 02/04/2020]. Val                758.63                     2,000.00                                 14,625.95                    FA
          Imported from original petition Doc# 3
16       REFUND FROM GROUP HEALTH POLICY (u)                               0.00                       96.58                                        96.58                  FA

17       2019 INCOME TAX REFUND (u)                                        0.00                    15,927.00                                 15,927.00                    FA

18       REFUND FROM STATE OF COLORADO (u)                                 0.00                      924.00                                       924.00                  FA

18       Assets          Totals (Excluding unknown values)        $25,750.20                    $39,950.58                                  $41,793.53           $10,783.00


     Major Activities Affecting Case Closing:
              TRUSTEE IS INVESTIGATING ASSETS OF THE CORPORATION, INCLUDING EQUIPMENT, BANK ACCOUNTS AND REFUNDS

              2-10-2020 ASSET NOTICE FILED.

              2-10-2020 APPLICATION TO EMPLOY STEVEN VANDERWILT AS ACCOUNTANT FOR THE ESTATE FILED.

              2-10-2020 ORDER AUTHORIZING STEVEN M. VANDEERWILT AS ACCOUNTANT FOR THE ESTATE ENTERED.

              2-11-2011 APPLICATION TO EMPLOY EUGENE JOHNSON AS ATTORNEY FOR THE ESTATE FILED.


                                                                                                                                         Printed: 07/29/2021 04:33 PM   V.20.34
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                                                                                Form 1                                                                             Page: 3

                                                     Individual Estate Property Record and Report
                                                                      Asset Cases
Case Number:       20-00393-3F7 JAF                                                     Trustee: (290790)           GREGORY L. ATWATER
Case Name:         NORTH AMERICAN RAIL SOLUTIONS, LLC                                   Filed (f) or Converted (c): 02/05/20 (f)
                                                                                        §341(a) Meeting Date:       03/10/20
Period Ending:     06/30/21                                                             Claims Bar Date:            05/14/20

                              1                                        2                       3                           4                  5                    6

                     Asset Description                              Petition/          Estimated Net Value              Property         Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                     Values          Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                 Remaining Assets


            2-11-2011 ORDER APPROVING APPLICATION TO EMPLOY EUGENE JOHNSON AS ATTORNEY FOR THE ESTATE ENTERED.

            3-10-2020 TRUSTEE COLLECTED ALL FUNDS FROM BANK ACCOUNT.

            5-20-2020 CLAIMS REVIEW COMPLETE.

            6-15-2020 ATTORNEY FOR THE ESTATE IS PURSUING ALL REFUNDS AND DEPOSITS THAT MAY BE PROPERTY OF THE CORPORATION.

            11-10-2020 ATTORNEY FOR THE ESTATE IS CONTINUING TO INVESTIGATE ASSETS OF THE CORPORATION INCLUDING EQUIPMENT AND REFUNDS.

    Initial Projected Date Of Final Report (TFR): December 30, 2020                 Current Projected Date Of Final Report (TFR): October 30, 2021




                                                                                                                                         Printed: 07/29/2021 04:33 PM   V.20.34
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                                                                               Form 2                                                                                Page: 1
                                                         Cash Receipts And Disbursements Record
Case Number:         20-00393-3F7 JAF                                                            Trustee:         GREGORY L. ATWATER (290790)
Case Name:           NORTH AMERICAN RAIL SOLUTIONS, LLC                                          Bank Name:       Metropolitan Commercial Bank
                                                                                                 Account:         ******2741 - Checking Account
Taxpayer ID #:       **-***1479                                                                  Blanket Bond:    $32,583,498.00 (per case limit)
Period Ending:       06/30/21                                                                    Separate Bond:   N/A

   1           2                           3                                     4                                      5                  6                     7
 Trans.     {Ref #} /                                                                                                Receipts       Disbursements           Checking
  Date      Check #            Paid To / Received From              Description of Transaction         T-Code           $                 $              Account Balance
03/03/21                  Transition Transfer Credit       Transition Transfer Credit                 9999-000          26,723.66                                26,723.66
03/11/21      {15}        GLOVIS AMERICA INC               ACCOUNTS RECEIVEABLE                       1129-000          14,625.95                                41,349.61
03/31/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                   61.95           41,287.66
04/30/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                   66.17           41,221.49
05/28/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                   61.66           41,159.83
06/30/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                   72.56           41,087.27
                                                                            ACCOUNT TOTALS                              41,349.61               262.34          $41,087.27
                                                                                Less: Bank Transfers                    26,723.66                 0.00
                                                                            Subtotal                                    14,625.95               262.34
                                                                                Less: Payments to Debtors                                         0.00
                                                                            NET Receipts / Disbursements               $14,625.95              $262.34




  {} Asset reference(s)                                                                                                               Printed: 07/29/2021 04:33 PM    V.20.34
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                                                                               Form 2                                                                                 Page: 2
                                                         Cash Receipts And Disbursements Record
Case Number:         20-00393-3F7 JAF                                                            Trustee:         GREGORY L. ATWATER (290790)
Case Name:           NORTH AMERICAN RAIL SOLUTIONS, LLC                                          Bank Name:       Mechanics Bank
                                                                                                 Account:         ******8066 - Checking Account
Taxpayer ID #:       **-***1479                                                                  Blanket Bond:    $32,583,498.00 (per case limit)
Period Ending:       06/30/21                                                                    Separate Bond:   N/A

   1           2                           3                                     4                                      5                   6                     7
 Trans.     {Ref #} /                                                                                                Receipts        Disbursements          Checking
  Date      Check #            Paid To / Received From              Description of Transaction         T-Code           $                  $             Account Balance
03/03/20      {16}        NORTH AMERICAN RAIL              REFUND FROM GROUP HEALTH POLICY            1290-000               96.58                                      96.58
                          SOLUTIONS
03/10/20       {1}        NORTH AMERICAN RAIL              BANK OF AMERICA ACCOUNT XXX8738            1129-000          10,220.00                                 10,316.58
                          SOLUTIONS LLC
03/10/20      {18}        NORTH AMERICAN RAIL                                                         1290-000              924.00                                11,240.58
                          SOLUTIONS LLC
03/31/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                    8.98            11,231.60
04/30/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   17.95            11,213.65
05/19/20      {17}        UNITED STATES TREASURY           2019 INCOME TAX REFUND                     1224-000          15,927.00                                 27,140.65
05/29/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   24.96            27,115.69
06/30/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   46.22            27,069.47
07/31/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   44.70            27,024.77
08/31/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   41.75            26,983.02
09/30/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   46.00            26,937.02
10/30/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   43.05            26,893.97
11/30/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   41.55            26,852.42
12/31/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   47.21            26,805.21
01/29/21                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   41.52            26,763.69
02/26/21                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                   40.03            26,723.66
03/03/21                  Transition Transfer Debit        Transition Transfer Debit                  9999-000                              26,723.66                    0.00




                                                                                                  Subtotals :          $27,167.58          $27,167.58
  {} Asset reference(s)                                                                                                                Printed: 07/29/2021 04:33 PM    V.20.34
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                                                                          Form 2                                                                                   Page: 3
                                                      Cash Receipts And Disbursements Record
Case Number:       20-00393-3F7 JAF                                                            Trustee:         GREGORY L. ATWATER (290790)
Case Name:         NORTH AMERICAN RAIL SOLUTIONS, LLC                                          Bank Name:       Mechanics Bank
                                                                                               Account:         ******8066 - Checking Account
Taxpayer ID #:     **-***1479                                                                  Blanket Bond:    $32,583,498.00 (per case limit)
Period Ending:     06/30/21                                                                    Separate Bond:   N/A

  1           2                        3                                   4                                          5                  6                     7
Trans.     {Ref #} /                                                                                               Receipts       Disbursements           Checking
 Date      Check #         Paid To / Received From              Description of Transaction           T-Code           $                 $              Account Balance
                                                                       ACCOUNT TOTALS                                 27,167.58          27,167.58                   $0.00
                                                                           Less: Bank Transfers                            0.00          26,723.66
                                                                       Subtotal                                       27,167.58               443.92
                                                                           Less: Payments to Debtors                                            0.00
                                                                       NET Receipts / Disbursements                  $27,167.58              $443.92


                            Net Receipts :          41,793.53
                                                ————————                                                               Net             Net                   Account
                                Net Estate :       $41,793.53          TOTAL - ALL ACCOUNTS                          Receipts     Disbursements              Balances
                                                                       Checking # ******2741                          14,625.95               262.34           41,087.27
                                                                       Checking # ******8066                          27,167.58               443.92                0.00

                                                                                                                     $41,793.53              $706.26          $41,087.27




 {} Asset reference(s)                                                                                                              Printed: 07/29/2021 04:33 PM    V.20.34
